




Dismissed and Memorandum Opinion filed October 2, 2008








Dismissed
and Memorandum Opinion filed October 2, 2008.

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Fourteenth Court of
Appeals

In The

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NO. 14-08-00308-CV

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IN THE INTEREST OF V.M.P.D.

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&nbsp;

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&nbsp;

On Appeal from the 309th District
Court

Harris County ,
Texas

Trial Court Cause No.
1998-32939

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M E M O R
A N D U M&nbsp; O P I N I O N

This
appeal is from a judgment signed March 14, 2008.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 

On
August 15, 2007, notification was transmitted to all parties of the Court's
intent to dismiss the appeal for want of prosecution unless, within fifteen
days, appellant paid or made arrangements to pay for the record and provided
this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant
has not provided this court with proof of payment for the record. Accordingly,
the appeal is ordered dismissed.

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PER
CURIAM

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Judgment rendered and Memorandum Opinion filed October
2, 2008.

Panel consists of Justices Yates, Seymore, and Boyce. 

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